Case 1:04-cr-10091-.]DT Document 48 Filed 06/06/05 Page 1 of 2 Page|D 51

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IN THE UNITED STATES DISTRICT coURT h d r""""*~~~~--D-C-
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UNITED sTATEs oF AMERJCA, WCI_DER§<I:Umy D‘S§Oél_|§)

Plaimiff,
vs. Case No. l:04cr10091-1
IUSTIN MCCOMIC

Defendant.

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Com't on a motion for refund of the cash appearance bond. It now appears
that the defendant has complied with the requirements of said bond and orders of this Court.

I'I` IS THEREFORE ORDERED that the ( $l0,000/ 10%= $1000.00)appearance bond (receipt J27743 )
for this defendant be cancelled and discharged, and the Clerk is directed to issue a check on the Registry in the sum
of $1000.00, payable to: Melba Mills, 130 Lakewood Drive, Lexington, TN 38351; in full refund of the cash

appearance bond posted herein.

@/MM-W

J S D. TODD
TED STATE DISTRJCT JUDGE

DATE: (d 955 ~S/
0

Approved:

ROBERT R.'ljl TROLIO, CLERK OFV COURT

BY: C M

Deputy Clerk

Tn|s document entered on the docket sheet In oomp|tanc~
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Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
case 1:04-CR-10091 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

David W. Camp

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Honorable J ames Todd
US DISTRICT COURT

